After giving due consideration to all matters involved in this case and upon the Defendant's stated or implied representation that all pertinent medical records have been submitted with the Agreement to the Commission as required by Rule 502 (3) (a), the undersigned is of the opinion that the Compromise Settlement Agreement is fair and equitable, and probably in the best interest of al parties, and is approved in the amount of SEVEN HUNDRED FIFTY AND 00/100 DOLLARS ($750.00). Compliance with the terms of the Agreement shall discharge Defendant from further liability under the Workers' Compensation Act by reason of the injury giving rise to this claim.
An attorney's fee of $249.75 is approved for Plaintiff's counsel.  This amount shall be deducted from the sum due plaintiff and paid directly to Plaintiff's counsel.
Defendant shall pay the costs.
It is to be noted, however, that this Order does not purport to approve, resolve, or address any issue or matter over which the Industrial Commission has no jurisdiction, whether or not such issue or matter is referred to in the Compromise Settlement Agreement executed by the parties to this action.
                                  S/ ______________________________ THOMAS J. BOLCH COMMISSIONER